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                         UNITED STATES DISTRICT COURT
 9
                        NORTHERN DISTRICT OF CALIFORNIA
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                             6$1)5$1&,6&2 DIVISION
11
12
                                          Case No. 4:09-CV-05718-56
13   NETLIST, INC.,
                                          [PROPOSED] ORDER GRANTING,1
14        Plaintiff,                      3$57$1''(1<,1*,13$57
                                          *22*/( 6 ADMINISTRATIVE
15               v.
                                          MOTION TO FILE UNDER SEAL
16   GOOGLE LLC,                          GOOGLE’S OPPOSITION TO
                                          NETLIST’S OBJECTION TO NEW
17        Defendant.                      EVIDENCE IN GOOGLE’S REPLY IN
                                          SUPPORT OF ITS MOTION TO STRIKE
18                                        AND EXHIBIT 1 THERETO
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                                                             Case No. 4:09-CV-05718-56
        Case 3:09-cv-05718-RS Document 274 Filed 05/19/22 Page 2 of 2




 1          Before the Court is Defendant Google LLC’s Administrative Motion to Seal portions of
 2 Google LLC’s Opposition to Netlist, Inc.’s Objection to New Evidence in Google’s Reply in Support
 3 of its Motion to Strike and Exhibit 1 There to (“Motion”).,QLWVGHFODUDWLRQLQVXSSRUWRIWKH0RWLRQ
 4 1HWOLVWGRHVQRWVHHNWRILOHXQGHUVHDOWKHHQWLUHW\RI([KLELWWR7VH'HFODUDWLRQ,Q6XSSRUWRI
 5 2SSRVLWLRQWR2EMHFWLRQWR1HZ(YLGHQFHHaving considered the Motion, supportingdeclarationV,
 6 and other papers,the Court ORDERS as follows:
 7    Document            Party Claiming Court’s Ruling on                Basis for Sealing Portion of
      Sought to Be        Confidentiality Motions to Seal                 Document
 8    Sealed
 9    Google’s            Plaintiff           '(1,(' as to               Contains, summarizes, or reflects
      Opposition to                           redacted portions at        material designated
10    Objection to                            1:10, 2:12-14, and          “Confidential” or “Highly
      New Evidence                            4:18-19.                    Confidential – Attorneys’ Eyes
11                                                                        Only” pursuant to the Protective
                                                                          Order
12    Exhibit 1 to Tse    Google              GRANTED as to               Narrowly tailored to protect
13    Declaration In                          redacted portions at        highly confidential and
      Support Of                              22:23-24 and 23:2-3.        proprietary information regarding
14    Opposition to                                                       Google’s internal servers and
      Objection to                                                        components therefore, including
15    New Evidence                                                        details related to the various
                                                                          memory modules that Google
16
                                                                          uses in those servers, that Google
17                                                                        maintains as confidential in the
                                                                          ordinary course of its business
18                                                                        and is not generally known to the
                                                                          public or Google’s competitors.
19    Exhibit 1 to Tse    Plaintiff           '(1,(' DVWR               Contains, summarizes, or reflects
      Declaration In                          ([KLELWin its           material designated
20
      Support Of                              entirety.                   “Confidential” or “Highly
21    Opposition to                                                       Confidential – Attorneys’ Eyes
      Objection to                                                        Only” pursuant to the Protective
22    New Evidence                                                        Order
23
24           6HHWKH2UGHUUH6HDOLQJIRUWKHEDVLVRIWKLVGHFLVLRQDQGIXUWKHULQVWUXFWLRQV'NW

25          ,7,6SO ORDERED.
26
           May 19
27 Dated: ___________, 2021                          __________________________________________
                                                                    5LFKDUG6HHERUJ
28                                                            &KLHIUnited States District Judge

                                                                                    Case No. 4:09-CV-05718-56
